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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

             In re                                                   §     Chapter 11
                                                                     §
             FAIRWAY ENERGY, LP, et al.,1                            §     Case No. 18-12684
                                                                     §
                             Debtors.                                §     (Joint Administration Requested)
                                                                     §

                                    DECLARATION IN SUPPORT OF
                           THE CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

                     Pursuant to 28 U.S.C. § 1746, I, Robert M. Flavin, hereby submit this declaration (this

         “Declaration”) under penalty of perjury:

                     1.     I am the Chief Financial Officer for each of the above-styled Debtors: (i) Fairway

         Energy GP, LLC, a Delaware limited liability company (“Fairway GP”), which is (ii) the general

         partner of Fairway Energy, LP, a Delaware limited partnership (“Fairway LP”), which is (iii) the

         sole member of Fairway Energy Partners, LLC, a Delaware limited liability company (“FEP

         LLC”), (collectively Fairway GP, Fairway LP, and FEP LLC, the “Debtors” or “Fairway”). In

         such capacity, I am familiar with the Debtors’ day-to-day operations and financial affairs.

                     2.     I joined Fairway in November 2012 and have served as Chief Financial Officer

         since that time. I was a member of Fairway’s board of directors from February 2014 through

         July 2015. I have over 30 years in senior financial management and leadership positions in both

         public and private companies primarily in energy related businesses.

                     3.     For over 16 years, I was employed by, and worked within various affiliates of,

         Phibro Energy (“Phibro”), starting as a Controller. After having held various positions with




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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
         number, include: Fairway Energy, LP (4200); Fairway Energy Partners, LLC (7914); and Fairway Energy GP, LLC
         (7808). The location of the Debtors’ service address is Three Riverway, Suite 1550, Houston, Texas 77056.
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         increasing responsibilities, I was named Senior Vice President and Chief Financial Officer of the

         refining division in 1992, a position I held through 1998.

                4.      Since leaving Phibro, I have served as Chief Financial Officer for Ambar, Inc.,

         Coast Energy Group, Twin Eagle Resource Management, and a division of Cheniere Energy,

         Inc. In addition, I also have served as Executive Vice-President Business Support at Sequent

         Energy and as the Vice President of Accounting and Administration at a division of CMS

         Energy, Inc.

                5.      I have a Bachelor of Science degree in Accounting from Marquette University

         and am a Certified Public Accountant. I have extensive experience in the accounting and

         operational aspects in the midstream sector of the oil and gas industry.

                6.      The Debtors operate as an integrated business that owns and operates an

         underground crude oil storage facility. Each of the Debtors commenced cases (the “Chapter 11

         Cases”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

         United States Bankruptcy Court for the District of Delaware (the “Court”) to ensure the going

         concern value of the business could be maintained.            The Debtors intend to operate their

         businesses and manage their properties as debtors in possession under the Bankruptcy Code.

                7.      To minimize the adverse effects of the bankruptcy filings on their businesses, the

         Debtors have filed, with the assistance of restructuring advisors and legal counsel, motions and

         applications seeking certain relief (collectively, the “First Day Pleadings”). Through the First

         Day Pleadings, the Debtors seek authority from the Court to allow the Debtors to meet necessary

         obligations and fulfill their duties as debtors in possession. I am familiar with the facts and relief

         sought in each of the First Day Pleadings and believe that the relief sought in each of the First

         Day Pleadings is necessary to enable the Debtors to operate in the Chapter 11 Cases with


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         minimal disruption or loss of productivity and value. I further believe that the relief sought in the

         First Day Pleadings constitutes a critical element in achieving a successful sale of the Debtors’

         businesses as a going concern, which will maximize the value of the Debtors’ estates for the

         benefit of the Debtors’ stakeholders.

                 8.      Except as otherwise indicated, the facts set forth in this Declaration are based

         upon my personal knowledge of Fairway’s business operations, my review of relevant

         business record documents, information provided to me or verified by other executives or

         employees of the Debtors, Fairway’s professional advisors, including Haynes and Boone, LLP

         (“Haynes and Boone”), and Alvarez & Marsal North America, LLC (“Alvarez & Marsal”), as

         well as consultation with Fairway’s investment bankers and accountants, and upon my

         experience in the crude oil storage industry generally. Unless otherwise indicated, the financial

         information contained in this Declaration is presented on a consolidated basis and is unaudited

         and subject to change. I, and others I supervised or worked with, were involved with the

         preparation of the petitions, schedules, and the First Day Pleadings. I was also involved in the

         Debtors’ prepetition efforts to obtain an equity investment, to secure alternative refinancing, and

         to obtain an alternative transaction to restructure the Debtors’ existing secured debt and

         operations. I am authorized to submit this Declaration on behalf of Fairway, and if called upon

         to testify, I would testify that the facts set forth herein are true and correct.

         I.      OVERVIEW OF FAIRWAY’S BUSINESS AND OPERATIONS

         A.      The Debtors’ Business

                 9.      Fairway provides storage, throughput and ancillary services for third-party

         companies engaged in the production, distribution and marketing of crude oil. The Debtors

         provide such services at the Pierce Junction Crude Oil Storage Facility (the “Facility”), which

         they developed and operate through certain leasehold interests and ownership interests.
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         B.     Salt Dome Cavern Storage

                10.     The Facility is an undersurface salt cavern storage operation. Underground salt

         cavern storage has been utilized since the 1940s for the storage of hydrocarbons. Due to the

         impermeability characteristics of salt, salt cavern storage incurs an extremely low risk of leakage

         through self-sealing under cavern operating pressures. Deep underground, salt dome cavern

         storage offers the most environmentally secure and lowest cost way to store hydrocarbons. The

         salt is impervious to liquid and gas hydrocarbons, has strength comparable to concrete and

         moves like plastic to seal any incipient fractures that might be encountered.

                11.     Salt dome storage is a method that has been used by the U.S. Department of

         Energy, U.S. Department of Transportation, and the Office of Fossil Energy. Used for more than

         seventy (70) years by the U.S. government, the natural properties of salt caverns make them ideal

         storage facilities for storage of hydrocarbons including crude oil. The salt is impervious to crude

         oil and there is no contamination. In terms of affordability, salt dome caverns store crude oil at

         less cost than above ground tanks. Using a process referred to as “solution mining,” salt caverns

         are carved out of underground salt domes by drilling a well into the salt dome and then injecting

         and circulating large amounts of fresh water to dissolve the salt and form a cavern, an example of

         which is depicted below.     This process is repeated, and the cavern becomes larger as the

         saturated brine is removed and replaced with fresh water. Each converted cavern includes a line

         for crude oil to the top of the cavern and another line for brine that extends towards the bottom of

         the cavern. The cavern remains completely full of either crude oil, brine, or a combination of

         both. With a higher density than crude oil, the brine stays at the bottom of the cavern and the

         crude oil floats to the top. As more crude oil is injected into the cavern, the displaced brine is

         pumped into adjacent brine ponds for storing, and the opposite occurs when crude oil is


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         scheduled for delivery—brine is pumped back into the cavern from the adjacent brine ponds

         which pushes the crude oil out of the cavern and into the outbound pipelines.




                                            Salt Dome Storage Caverns
         C.     Fairway’s Underground Storage Facility

                12.     The Facility is a 10 million-barrel maximum capacity salt dome crude oil storage

         facility located in Houston, Texas, just south of the NRG/Astrodome sports complex. The

         Facility is the only independent salt dome crude oil storage terminal in the region. The Debtors

         began construction on the Facility in 2015 after they obtained the exclusive rights to store crude

         oil in the Pierce Junction Salt Dome and entered into certain leases for brine caverns and land.

         Fairway leased all of its caverns and obtained the exclusivity agreement through Underground

         Storage, LLC (“USL”). Fairway has future capacity with USL as commercial demand grows to

         further expand the salt dome storage capacity at the site.



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                                               Location of Salt Domes

                13.    The Debtors planned to bring the Facility online in multiple phases. The

         following tables summarize Fairway’s leased system assets included in Phase 1A:




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         Cavern 3 is currently operable at 1.0 million barrels (with expansion capacity capable up to 3.6

         million barrels) providing a current total operational capacity of 7.5 million barrels of storage.

                14.     Phase 1A of the project was completed in April 2017 after Fairway converted

         three existing underground storage caverns into crude oil storage service and built out supporting

         infrastructure to put the Facility into commercial service, including central pumping and

         metering facilities, brine ponds with approximately 6.5 million barrels of capacity, and two bi-

         directional, 24-inch pipelines that traverse approximately twenty (20) miles across the Houston

         area to connect the Facility with interconnecting pipelines. The Debtors planned to increase their

         storage capacity by an additional 2.6 million barrels in Phase 1B, followed by (nine) 9.0 million

         barrels of additional capacity in Phase 2; however, only Phase 1A has been completed as of the

         Petition Date. Currently, Fairway has approximately 10.1 million barrels of maximum capacity,

         which is connected to customers via owned and third-party pipelines systems, as shown below.



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                            Current Pipeline Routes and Plans for Future Expansion

                  15.   The pipelines enable Fairway to provide receipt capability from inbound crude oil

         pipelines from the Permian Basin, Eagle Ford Shale Basin, and Canada/Midcontinent. The

         pipelines also connect to hubs that provide downstream connectivity to terminals, refineries, and

         water outlets located in the Houston Ship Channel, Texas City and Beaumont/Port Arthur market

         areas.

                  16.   With the current pipeline routes, Fairway has the capacity to serve potential

         customers, including refiners and/or marketers using crude oil for their own operational use or

         trading purposes. Fairway offers flexibility to customers, providing for short and long-term

         storage agreements.

         D.       Contracts with Customers

                  17.   Fairway believes it is well positioned in this market, albeit somewhat early, given

         longer term trends in the crude oil industry. While the Debtors concede that storage is not
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         currently full in the Houston area, some extra capacity is not accessible for commercial purposes.

         Moreover, the substantial increases in domestic west Texas production suggest that this capacity

         will be needed, especially as additional pipelines deliver more crude oil from west Texas to the

         Houston area.

                 18.     Fairway offers new crude oil storage opportunities with control of the “last mile”

         into the Houston market as well as a lower cost advantage over competing surface alternatives.

         As a result of its prime location in the Houston area, Fairway is well positioned to market its

         storage and handling services once current market, pipeline and offshore capacity, and liquidity

         issues are resolved.

                 19.     Potential Fairway customers are refiners and/or marketers using crude oil for their

         own use or speculative trading. Fairway customers are ideally looking for a facility that can

         provide large capacity options in order to aggregate barrels to ensure consistent supply “at will.”

         Fairway targets well capitalized entities that need a reliable place to store the crude oil prior to

         such crude oil being shipped for export or use in crude oil refining and the petrochemical

         facilities on the Gulf Coast. Although some customers request quotes for spot or short-term

         contracts, Fairway initially focused on creating storage agreements with anchor tenants on longer

         term take-or-pay type contracts. More recently, Fairway has expanded its offerings to include

         shorter-term arrangements.

                i.       Crude Oil Storage Service Fees

                 20.     Fairway’s contract terms require that it make available to its customers the ability

         to store the contracted capacity of crude oil. Therefore, Fairway is entitled to the storage capacity

         fee as long as it makes available, to each customer, the contracted capacity, regardless of whether

         the customer actually stores crude oil or not. Fairway recognizes crude oil storage fees ratably

         over time as the crude oil storage capacity is made available. Fairway’s contract terms provide
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         that each customer, not Fairway, maintains (or retains) title to any crude oil delivered to Fairway.

         Payment for storage services is generally received in advance during the month preceding the

         month of storage service.

                ii.     Pipeline Transportation Fees

                  21.   Fairway’s contract terms provide a fee based on the actual volume of crude oil

         received at or delivered from its Facility upon receipt at delivery locations. With respect to the

         pipeline transportation fee, Fairway expects to recognize the revenue when the performance

         obligation is satisfied, that is when crude oil is received at receiving points and when crude oil is

         delivered at delivery points in accordance with the terms of the contract. Payment for throughput

         service fees is received in the month after the crude oil has been received in storage or been

         delivered from storage.

                  22.   In addition to the pipeline transportation fee, for any volumes of crude oil actually

         delivered to or from Fairway’s facilities, Fairway is entitled to a certain amount of crude oil loss

         in the transportation process. Fairway recognizes an ancillary service fee (the “Pipeline Loss

         Allowance”), as revenue when the performance obligation is satisfied, that is after both the crude

         oil is received at receiving points and the crude oil is delivered at delivery points in accordance

         with the terms of the contract, and as it becomes probable that no subsequent significant reversal

         of these fees will occur. The Pipeline Loss Allowance is recovered at the time the crude oil is

         delivered to a third party pipeline. Payment of the Pipeline Loss Allowance is received at the

         time the crude oil is delivered to a third party pipeline. At the termination of the contract, if

         there is a shortfall or over-delivery of the crude oil owed to Fairway or the customer over and

         above this Pipeline Loss Allowance, Fairway or the Customer is deemed to have purchased that

         volume of crude oil from the customer at the crude oil settlement price within an agreed upon

         margin of error. The crude oil settlement price is equal to the Calendar Month Average of the
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         NYMEX WTI price, as reported by a trade publication (Argus) plus a differential as defined in

         the storage contract.

         E.     The Debtors’ Operations and Organizational Structure

                23.       The following chart illustrates the Debtors’ organizational structure as of the

         Petition Date:




                                             Fairway Organizational Chart

                24.       As shown on the chart above, Fairway LP is the direct parent company of Fairway

         GP and FEP LLC. Fairway LP is a privately held Delaware limited partnership. The current

         structure has been in place since March 24, 2017.2

                25.       Fairway GP serves as the general partner of Fairway LP. As of the Petition Date

         and as more fully described in the Wages Motion (as hereinafter defined), the Debtors rely on the

         2
           FEP LLC was formed in April 2011, whereas Fairway LP and Fairway GP were formed in March of 2016. FEP
         LLC became a wholly owned subsidiary of Fairway LP in March 2016. Fairway GP became a wholly owned
         subsidiary of Fairway LP in March 2017.
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         services of approximately sixteen (16) members of its workforce, who are either employed by

         the Debtors or serve as independent contractors. The workforce has deep experience in the

         industry and with the Facility. The Facility was planned, designed and constructed under their

         supervision.   Fairway GP does not receive any management fee or other compensation in

         connection with its management of the business, but it is entitled to be reimbursed for all direct

         and indirect expenses incurred on behalf of Fairway LP, including directors’ compensation and

         expenses, and an administrative processing fee not to exceed five percent (5%).

         II.    PREPETITION CAPITAL STRUCTURE

                26.     As of September 30, 2018, the Debtors’ unaudited balance sheet reflected total

         book assets of approximately $382,700,000, total book liabilities of approximately $94,000,000,

         and owner’s book equity of approximately $288,700,000. The Debtors’ principal assets consist

         of the Facility, claims and contract accounts receivable, inventory, prepayments, deferred

         interconnect costs, net of amortization, and cash.

         A.     Prepetition Facility

                27.     The investment made to acquire, design and construct the Facility is considerable.

         In addition to the initial capital of approximately $390 million (excluding fees and other offering

         costs) provided by the Unitholders (as defined below), Fairway also obtained debt financing to

         address and satisfy construction overruns. The Debtors’ debt financing was procured from

         Riverstone Credit Partners, L.P. (“Riverstone”) as lead arranger and administrative agent for the

         lenders (the “Prepetition Lenders”) and as a Prepetition Lender pursuant to a certain senior

         secured term loan Credit Agreement dated as of March 29, 2017 (as amended as of July 6, 2017

         pursuant to that certain Omnibus Consent and Amendment to Credit Agreement and Security

         Agreement, as further amended as of April 27, 2018 pursuant to that certain Third Waiver and

         Second Amendment to Credit Agreement (the “Second Amendment”), as further amended as of
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         July 31, 2018 pursuant to that certain Fourth Waiver and Third Amendment to Credit Agreement

         (the “Third Amendment”), as further amended as of October 1, 2018 pursuant to that certain

         Fifth Waiver and Fourth Amendment to Credit Agreement (the “Fourth Amendment”), as further

         amended as of October 22, 2018 pursuant to that certain Sixth Waiver and Fifth Amendment to

         Credit Agreement (the “Fifth Amendment”), as further amended as of October 26, 2018 pursuant

         to that certain Sixth Amendment to Credit Agreement (the “Sixth Amendment”), as further

         amended as of November 7, 2018 pursuant to that certain Seventh Waiver and Seventh

         Amendment to Credit Agreement (the “Seventh Amendment”), as further amended as of

         November 20, 2018 pursuant to that certain Eighth Waiver and Eighth Amendment to Credit

         Agreement (the “Eighth Amendment”) and as further amended, restated, supplemented and/or

         otherwise modified from time to time (the Prepetition Credit Agreement”). The Prepetition

         Credit Agreement originally provided for a senior secured term loan credit facility (the

         “Prepetition Facility”) of up to $80 million with an additional $50 million available if certain

         conditions were met.

                28.    To provide additional runway and flexibility to raise additional necessary

         financing, Fairway entered into eight amendments and waivers with Riverstone prepetition. The

         Second Amendment contemplated, among other things, that Fairway would obtain a capital

         infusion on or prior to March 31, 2018, and, if Fairway consummated such an equity raise, that

         $15 million of the proceeds of such equity infusion would be used to prepay the loans under the

         Prepetition Credit Agreement. Fairway was unable to raise equity capital by the March 2018

         deadline set forth in the Second Amendment, and pursuant to the Third Amendment, Fourth

         Amendment and Fifth Amendment, Riverstone agreed to postpone the deadline for such equity

         raise through October 2018.


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                 29.     Under the Sixth Amendment, as consideration for the removal of the requirement

         to repay $15 million of loans with the proceeds of an equity raise, Riverstone was granted the

         right to convert, in its sole and absolute discretion, an aggregate principal amount of first lien

         debt in an amount equal to up to $15 million into second lien debt, and the further option

         thereafter to convert such second lien debt into equity of Fairway LP.

                 30.     Further, under the Seventh Amendment and the Eighth Amendment, Riverstone

         provided additional incremental loans of $600,000 and $775,000, respectively (the “Incremental

         Facility”). The Incremental Facility was provided by Riverstone on a “first out” basis in the

         weeks leading up to the Petition Date to fund the Debtors’ attempts to complete their prepetition

         marketing process and prepare for the filing of these Chapter 11 Cases, if necessary, in an

         orderly fashion, with the understanding being that such financing was a “bridge” to either an

         equity investment or, if necessary, a bankruptcy filing.         Under the terms of the Eighth

         Amendment, these incremental loans matured on November 26, 2018 (i.e., the Petition Date). A

         failure on the part of Fairway to repay the Incremental Facility at maturity would have caused the

         entire Prepetition Facility to be in default.

                 31.     As of the Petition Date, the outstanding principal amount owing to Riverstone

         under the Prepetition Facility, excluding the $1,422,458 owing under the Incremental Facility but

         capitalizing all accrued but unpaid interest, is approximately $94 million plus interest, fees,

         prepayment premiums, and all other amounts owed under the Prepetition Credit Agreement.

                 32.     The obligations under the Prepetition Facility are secured by certain liens,

         pledges, and security interests in substantially all of the Debtors’ assets and property, including a

         first priority lien on (i) Fairway LP’s ownership interest in FEP LLC, and (ii) all of FEP LLC’s

         and Fairway LP’s assets (collectively, the “Prepetition Collateral”) as more fully described in the


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         Prepetition Credit Agreement, security agreement, and related agreements, amendments, and

         documents among the Debtors, and Riverstone (collectively, the “Prepetition Loan Documents”).

                 33.    By its terms, the Prepetition Facility will mature on March 29, 2020. Amounts

         borrowed under the Prepetition Facility bear interest at an adjusted base rate plus an applicable

         margin. Subject to certain conditions, FEP LLC may elect to make the full amount of any

         interest payment by capitalizing such interest payment and increasing the principal amount of the

         loan by the amount thereof (a “PIK Election”).

                 34.    The Prepetition Credit Agreement contains a borrowing base financial covenant

         that becomes effective after the first quarter of 2019 and that is based upon FEP LLC complying

         with a certain consolidated total leverage ratio. In the event the consolidated total leverage ratio

         exceeds the borrowing base for any fiscal quarter after the borrowing base becomes effective,

         FEP LLC is required to make a mandatory prepayment as necessary to cure such excess.

         B.      Unsecured Liabilities

                 35.     The Debtors’ unsecured obligations consist of, among other things, trade debt,

         lease obligations, and contract obligations. The Debtors estimate that, as of the Petition Date,

         their outstanding aggregate unsecured obligations total approximately $7.2 million.          These

         comprise the following:

                i.      Trade Obligations

                 36.    The Debtors’ trade obligations primarily arise as a result of the construction

         projects and other operational costs associated with the Debtors’ operations that arise from

         various services provided by third parties. The Debtors have generally remained current on their

         trade debt obligations. As of the Petition Date, the Debtors’ unpaid trade obligations were

         approximately $1,650,000.


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                 ii.     Lease Obligations

                   37.   The Debtors’ have three leases related to their operations: (i) an office lease at

         Three Riverway, expiring December 31, 2018; (ii) a thirty (30) year surface lease with the

         Stevenson owners (the “Stevenson Lessor”) for the brine ponds that support the Facility; and

         (iii) a thirty (30) year lease with USL for the subsurface caverns. The surface and subsurface

         cavern leases are long term agreements that provide the Debtors with decades of contracted use

         of the facilities needed to operate the Facility. As of the Petition Date, the Debtors’ unpaid lease

         obligations were approximately $72,300.

                iii.     Pipeline Agreements

                   38.   The Debtors also have agreements with a number of midstream companies that

         own and operate interstate and intrastate pipelines that provide access to and from the Facility.

         Such agreements enable the Debtors to have transportation, supply and offtake capabilities for

         petrochemical and refining plants on the Gulf Coast and other export markets, which would

         otherwise be inaccessible in the absence of such agreements. As of the Petition Date, the Debtors

         were current on their unpaid pipeline agreement obligations.

                iv.      Severance Obligations

                   39.   The Debtors have approximately $1.4 million in potential severance obligations to

         current and former officers as well as employees of the Debtor.

                 v.      Property Tax

                   40.   The Debtors have approximately $4.15 million in contractual property tax

         obligations due to local governmental entities associated with the Facility arising from

         improvements to the leases of the surface and subsurface real estate and personal property of the

         Debtor.


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         C.     Equity Interests in Fairway LP

                41.     As of September 30, 2018, the total number of outstanding units of common

         equity in Fairway LP is 39,266,019, which are held by approximately sixty-three (63) investors

         (the “Unitholders”). The Unitholders consist mainly of investors that provided capital to fund the

         construction of the Facility. The total equity capital raised to date is approximately $390 million.

         III.   EVENTS LEADING TO THE CHAPTER 11 FILINGS AND PREPETITION
                RESTRUCTURING INITIATIVES

         A.     Events Leading to Bankruptcy

                42.     Since the spring of 2018, Fairway has experienced liquidity issues given

         operational and market issues that impeded use of the Facility. For the nine (9) months ended

         September 30, 2018, Fairway had an operating loss of $38,600,000 (before interest, expense, and

         other income). Fairway’s financial performance has been negatively affected by (i) reduced and

         delayed demand for its services, (ii) cost overruns on the Facility, (iii) commercial restrictions on

         accessing the Facility by existing pipeline connections, and (iv) general market conditions that

         undermine the demand for crude oil storage.

                43.     The Debtors’ liquidity constraints impacted both their ability to operate and to

         comply with their obligations under the Prepetition Credit Agreement. Anticipating a liquidity

         crisis, Fairway engaged in negotiations with Riverstone beginning in March 2018 regarding the

         terms on which Fairway could obtain additional runway and avoid defaulting under the

         Prepetition Credit Agreement. As noted above, pursuant to a series of amendments and waivers

         of requirements under the Prepetition Credit Agreement, Riverstone made certain concessions to

         give Fairway time to raise equity capital to address its emerging liquidity constraints. Pursuant

         to such amendments, Riverstone agreed to extend the deadline by which Fairway was required to

         raise equity capital under the terms of the Prepetition Credit Agreement through October 2018.

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         Ultimately, promising candidates for raising equity capital failed to materialize as expected. To

         allow the Debtors to pursue a potential candidate, if necessary, and to prepare for these chapter

         11 filings, Riverstone provided the Incremental Facility.        Discussions with this potential

         candidate terminated on November 19, 2018, at a time when Debtors had largely exhausted their

         operating funds. As a result, Fairway was left with a default under the Prepetition Credit

         Agreement and a near complete lack of liquidity.

                 i.        Market Supply Fluctuation Not Yet Meeting Demand for Storage

                  44.      Fairway strongly believes in the value proposition represented by its crude oil

         storage facility. Recent history indicates that Houston area storage for crude oil is increasingly

         being used for operational purposes rather than speculative trading. Fairway forecasted that

         market conditions would lead to increasing export opportunities by producers and shippers trying

         to deliver crude oil east of Houston to refineries in Texas and Louisiana and for export purposes.

         However, Fairway has not yet been able to generate sufficient contracts to manage its current

         debt obligations.

                ii.        Market Difficulties

                  45.      Market conditions have curtailed the economic incentives required for customers

         to contract for crude oil storage in the Houston market. However, these conditions appear to be

         easing recently. In addition to this long prevailing unfavorable market environment, Fairway

         continues to face aggressively competitive business practices imposed by a competitor to

         Fairway, Enterprise Products Partners, L.P. (“Enterprise”), which inflates transportation rates in

         and around Fairway’s interconnect at Genoa Junction.          These conditions have negatively

         impacted Fairway’s ability to contract storage capacity and are expected to continue to do so in

         the short term.


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                   46.   Fairway believes there is evidence of positive fundamental market indicators that

         should support greater use of Fairway’s storage facilities. Those indicators include continued

         rising U.S. crude oil production volumes led by the Permian Basin, increased pipeline volumes

         headed for Houston (Enterprise’s 450 Mbpd Permian to Sealy pipeline commenced shipments in

         January 2018 with an expectation to reach its maximum operating capacity during the 2nd half of

         2018) and a predicted sharp increase in exports from the Texas Gulf Coast. Fairway believes that

         these factors combined with the operational commencement of Fairway’s Magellan (as defined

         below) interconnect, will provide it with greater opportunities to market its storage capacity in

         order to increase revenues in the future.

                iii.     Magellan Interconnect

                   47.   Fairway sought access to a pipeline system owned by Magellan Midstream

         Partners, L.P. (“Magellan”).     Fairway began construction work on an interconnection with

         Magellan at Genoa Junction which was completed in July 2018. Fairway’s construction costs

         were materially below the original $22 million projection. The completion of the Magellan

         interconnect increases the opportunities for shippers to use Fairway’s facilities.

                iv.      Issues Raised by the Texas Railroad Commission

                   48.   In an April 10, 2018 letter, the Oil and Gas Division of the Texas Railroad

         Commission of Texas (“TRRC”) alleged that FEP LLC is violating provisions of its Pit Permit

         Nos. P012098 and P012099, asserting that the clay liners of those brine pits have been

         compromised, and purports to suspend those permits. In an April 13, 2018 response, Fairway

         explained that it had compelling evidence refuting that allegation and, to present that evidence,

         requested both an informal meeting and a contested case hearing in the event that informal

         meeting was unsuccessful. In its April 13 response, Fairway expressed its view that the TRRC

         staff does not have the power to suspend its permits without complying with the TRRC’s own
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         rules and pertinent statutory provisions, which afford Fairway the right to a contested case

         hearing at which the burden will be on the TRRC to show good cause as to why the permits

         should be suspended. The TRRC staff agreed to meet with Fairway and has indicated that the

         filing of the hearing request stays the effect of the letter.

         B.      Prepetition Restructuring Initiatives and Search for Capital

                 49.     In the period leading up to the Petition Date, the Debtors have been engaged in

         constructive discussions with Riverstone on a range of restructuring alternatives other than

         bankruptcy. These efforts were preceded by significant efforts for over a year to attract equity

         capital. In this regard, in August 2017, the Debtors hired Piper Jaffray & Co., through its

         Simmons & Company International division (“Simmons”), to act as financial advisor for the

         purpose of pursuing (i) a business combination, including the sale of the Debtors’ assets or

         equity, and (ii) debt or equity financing.

                 50.     As it became evident that the Debtors required additional sources of financing, the

         Debtors instructed Simmons to identify, assess and explore options to address the Debtors’

         liquidity concerns. In April 2018, the engagement was expanded to include procurement of debt

         financing. To address the Debtors’ liquidity constraints and obtain additional working capital,

         the Debtors engaged in numerous exploratory discussions with various potential buyers and

         lenders. In the months prior to the Petition Date, the Debtors and Simmons contacted a total of

         approximately 150 prospective strategic buyers, financial buyers and lenders. Eleven (11) of

         such parties expressed an interest in considering an acquisition or financing and proceeded with

         non-disclosure agreements. At all material times, Fairway also contacted and remained open to

         proposals from existing equity holders to raise additional equity capital to either pay down or to

         enable the restructure of the Prepetition Facility. Despite Fairway and Simmons’ extensive

         efforts, as of the Petition Date, no commitments have materialized.
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                51.     Following the Debtors’ comprehensive marketing process for equity and debt

         financing that did not result in any commitments, and due to financial constraints and the

         termination of interest from several possible investors, the Debtors determined that a bankruptcy

         process was the optimal way to complete its marketing process and transition the business to new

         ownership. The Debtors believe that the sale process contemplated by the filing of these

         Chapter 11 Cases will maximize the value of the Debtors’ estates for the benefit of the Debtors’

         stakeholders. In this manner, the Debtors intend to file, in short order, a motion seeking approval

         of a sale process by which heretofore sidelined strategic and investment candidates can have a

         full and fair opportunity to acquire the assets. By such process all stakeholders gain the chance

         to obtain repayment or return of capital.

         IV.    FIRST DAY PLEADINGS

                52.     Below is an overview of the First Day Pleadings. In the First Day Pleadings, the

         Debtors seek relief intended to facilitate a smooth transition into the Chapter 11 Cases and

         minimize disruptions to the Debtors’ business operations. Capitalized terms used but not

         otherwise defined in this section of this Declaration shall have the meanings ascribed to them in

         the relevant First Day Pleading. I have reviewed each of the First Day Pleadings and proposed

         orders (including the exhibits thereto) and the facts set forth therein are true and correct to the best

         of my knowledge, information, and belief.

         A.     Debtors’ Motion for Entry of an Order Authorizing Joint Administration of
                Chapter 11 Cases Pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy
                Procedure (the “Joint Administration Motion”)

                53.     Pursuant to the Joint Administration Motion, the Debtors request entry of an order

         directing procedural consolidation and joint administration of the Chapter 11 Cases. The Debtors

         are “affiliates” as defined in section 101(2) of the Bankruptcy Code, as Fairway LP directly owns

         and controls 100% of the member interests in FEP LLC and Fairway GP.
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                54.     The Debtors operate as an integrated business. I believe that joint administration

         of the Chapter 11 Cases will save the Debtors and their estates substantial time and expense

         because it will remove the need to prepare, replicate, file, and service duplicative notices,

         applications, and orders. Further, joint administration will relieve the Court of entering

         duplicative orders and maintaining duplicative files and dockets. The United States Trustee for

         the District of Delaware (the “U.S. Trustee”) and other parties in interest will similarly benefit

         from joint administration of the Chapter 11 Cases by sparing them the time and effort of

         reviewing duplicative pleadings and papers.

                55.     I do not believe joint administration will adversely affect creditors’ rights because

         the Debtors request only the administrative consolidation of the estates. The Debtors do not seek

         substantive consolidation. As such, each creditor may still file its proof of claim against a

         particular estate. Accordingly, on behalf of the Debtors, I respectfully submit that the Joint

         Administration Motion should be approved.

         B.     Debtors’ Motion for Entry of Interim and Final Orders Pursuant to Sections 105,
                361, 362, 363 and 364 of the Bankruptcy Code and Rules 2002, 4001, 6004 and 9014
                of the Federal Rules of Bankruptcy Procedure (A) Authorizing the Debtors to
                (I) Use Cash Collateral, (II) Obtain Secured Superpriority Postpetition Financing
                and Granting Liens and Superpriority Administrative Claims and, (III) Provide
                Adequate Protection, (B) Scheduling a Final Hearing, and (C) Granting Related
                Relief (the “DIP Motion”)

                56.     Pursuant to DIP Motion, the Debtors seek entry of an Interim Order, and

         subsequently a Final Order: (i) authorizing the Debtors to obtain postpetition financing

         pursuant to sections 363 and 364 of the Bankruptcy Code by entering into the DIP Facility on

         an interim and final basis; (ii) authorizing the Debtors’ use of Cash Collateral and all other

         collateral on an interim basis in accordance with the DIP Budget; (iii) granting adequate

         protection to the Prepetition Lenders for the use of the Prepetition Collateral, including Cash

         Collateral; (iv) modifying the automatic stay imposed by section 362 of the Bankruptcy Code to
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         the extent necessary to implement and effectuate the terms and provisions of the Interim Order

         and the Final Order; (v) scheduling a Final Hearing on the DIP Motion within 40 30 (forty)

         days of the entry of the Interim Order; and (vi) granting related relief.

                57.     For an extended period before the Petition Date, the Debtors and their advisors

         have considered a variety of potential transactions to avoid bankruptcy, including further equity

         investment, refinance of debt, and even sale options.          These efforts continued until mid-

         November 2018. No equity investment was forthcoming that would enable the Debtors to

         continue operations while also addressing the more than $94 million in secured debt owing.

         Based on the complete lack of operating funds, the Debtors have determined that the DIP Facility

         presents the only viable mechanism for providing the liquidity that the Debtors require to

         continue their operations. Simply put, the prior extensive efforts to obtain debt or equity capital

         from existing unitholders never resulted in any firm offer of needed financing. The same was

         true for those numerous parties contacted by Simmons.

                58.     The Debtors require immediate access to the DIP Facility and Cash Collateral to

         satisfy the day-to-day financing needs of the Debtors’ business operations. The Debtors have

         been literally reliant upon week-to-week financing from its existing Prepetition Lenders, as

         represented by the Incremental Facility. Without this support, the Debtors would be completely

         out of operating funds. The Debtors must have operating liquidity to procure goods and services

         from vendors, pay their employees, meet overhead costs, provide the necessary 24/7 security and

         operations needed at the storage facility, and make all other payments that are essential for the

         continued management, operation and preservation of the Debtors’ businesses. The ability to

         satisfy these expenses as and when due is essential to the Debtors’ continued operation of their

         businesses during the pendency of these Chapter 11 Cases and properly bridge to a sale of the


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         Debtors’ assets or equity. In such circumstances, the DIP Facility’s terms are appropriate,

         reasonable, and in the Debtors’ business judgment essential to enable it to continue operating. I

         believe that the inability to have use of these funds during the Chapter 11 Cases would cripple the

         Debtors’ business operations, causing immediate and irreparable harm to the Debtors and their

         estates.

                    59.   It is the Debtors’ business judgment that the DIP Facility represents the best

         possible opportunity for the Debtors to retain the chance to preserve going concern value. As

         indicated, the Debtors are literally out of cash and lack any operating funds. They have had to

         obtain further loan advances from the Prepetition Lenders each of the last two weeks simply to

         pay operating expenses, as they tried to obtain agreement with a last interested party that

         proffered an interest in making a conditional equity investment, with an option to purchase the

         Debtor’ in the future. The negotiations broke down and terminated last week, with the last

         remaining party refusing to provide a commitment that would allow the Debtors to continue to

         operate out of bankruptcy, much less to proffer a purchase offering price that would have assured

         the payment of all creditors or any real return for the equity stakeholders. Based upon the

         extended efforts made by the Debtors and their investment advisors going back for over a year,

         and the lack of any firm proposals that would enable the Debtors to confirm a favorable

         agreement to deal with all stakeholders, the Debtors’ business judgment remains that the current

         financing terms are the best and only option available.

                    60.   In addition, the Debtors’ business judgment is to do this financing with affiliates

         of its current lenders. Because of the lack of any firm proposals to invest in or purchase the

         facilities, the Debtors have been engaged in arm’s-length discussions with Riverstone prepetition

         to seek alternatives to bankruptcy, and to otherwise restructure the debt. No viable alternatives


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         that enabled the Debtors to obtain full value for its assets presented themselves.            In the

         meantime, the Debtors ran out of operating funds. Riverstone alone (through its affiliates) was

         willing to provide further financing as provided under the DIP Facility. In this manner, the

         Debtors can attempt to maximize value through a court sanctioned process fair to all

         stakeholders.

                61.      Based upon the previous extensive efforts, the Debtors do not believe there is any

         viable alternative to the DIP Facility. Efforts to induce firm offers for further financing have

         been made, but none have resulted in any proposals. Active negotiations with one strategic

         industry participant lasted until November 12, 2018 but did not result in a firm offer. The

         existing capital structure and the indicated inability to assure any possible lender sufficient value

         support makes the DIP Facility the only reasonable alternative for enabling the Debtors to

         continue operations.

                62.      The Debtors request authority to provide the Prepetition Secured Parties with

         adequate protection as set forth in the DIP Motion. This adequate protection will include

         replacement liens on postpetition property, a superpriority claim, and certain adequate protection

         payments, and also will be provided through the maintenance of going concern values and the

         use of the financing to enable the Debtors to implement a sale or investment process through

         which the DIP Facility and the Prepetition Obligations can be paid, with residual value expected

         for payment of remaining creditor claims and distribution to equity. I understand based on

         advice of the Debtors’ restructuring advisors that the adequate protection described in the DIP

         Motion is reasonable under the circumstances and necessary in order to allow the Debtors to use

         Cash Collateral and to obtain the DIP Facility.




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                 63.    I believe on behalf of the Debtors that the relief requested in the DIP Motion is in

         the best interests of the Debtors’ estates, their creditors, and all other parties in interest, and will

         enable the Debtors to continue to operate their business in Chapter 11 without disruption.

         Absent access to cash collateral and the DIP Facility, the Debtors could not operate and bridge to

         a value-maximizing sale. No sale process could be implemented that permits all stakeholders

         some opportunity to obtain recovery. The going concern value of its business would be severely

         impaired and the Debtors could lose access to the Facility. Accordingly, on behalf of the

         Debtors, I respectfully submit that the DIP Motion should be approved.

         C.      Debtors’ Motion for an Order (I) Authorizing Continued Use of Existing Business
                 Forms and Records; (II) Authorizing Maintenance of Existing Corporate Bank
                 Accounts and Cash Management System; (III) Waiving Certain U.S. Trustee
                 Requirements; and (IV) Granting Related Relief (the “Cash Management Motion”)

                 64.    Pursuant to the Cash Management Motion, the Debtors seek entry of an order

         (i) authorizing the Debtors to continue using their existing business forms and records;

         (ii) authorizing the Debtors to maintain the Bank Accounts and Cash Management System; and

         (iii) granting the Debtors a waiver of certain bank account and related requirements of the Office

         of the U.S. Trustee and Section 345(b) of the Bankruptcy Code to the extent that such

         requirements are inconsistent with (a) the Debtors’ existing practices under their cash

         management system or (b) any action taken by the Debtors in accordance with any order

         granting the Cash Management Motion or any other order entered in the Chapter 11 Cases.

                i.      Books and Records

                 65.    The Debtors operate their business using accounts in Fairway LP and FEP LLC.

         Certain of the accounts are pledged under collateral documents to the Prepetition Secured

         Creditors. Fairway GP provides the services needed to operate the Debtors’ business using three

         accounts. I believe that opening a new set of books and records would create unnecessary

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         administrative burdens and hardship and would cause unnecessary expense, utilization of

         resources, and delay. The Debtors, in the ordinary course of their businesses, use many checks,

         invoices, stationery, and other business forms. By virtue of the nature and scope of the business

         in which the Debtors are engaged and the numerous other parties with whom they deal, I believe

         the Debtors need to use their existing business forms without alteration or change. I believe that

         printing new business forms would take an undue amount of time and expense and that

         fulfillment of the requirement would likely delay the payment of postpetition claims and

         negatively affect operations and the value of these estates.

                ii.     Bank Accounts and Cash Management System

                  66.   Prior to the Petition Date, in the ordinary course of business, the Debtors used a

         cash management system (the “Cash Management System”) to efficiently collect, transfer and

         disburse funds generated by their business operations. As more fully described below, the

         Debtors’ Cash Management System consists of six (6) accounts at Amegy Bank (“Amegy”), a

         division of ZB, N.A; four (4) of which support the operations of FEP, one (1) of which provides

         for employee related costs of Fairway GP, and one (1) other account supporting the operations of

         Fairway LP.     Amegy is an authorized depository pursuant to the United States Trustee’s

         Authorized Depository Listing established for the District of Delaware. The Debtors do not hold

         any foreign operating bank accounts.

                  67.   The Debtors’ accounts (collectively referred to herein as the “Bank Accounts”)

         include:

                            i. The master operating account of FEP (x1064) (the “FEP Operating
                               Account”) where the Debtors transfer balances between the Debtors’ other
                               accounts, make select vendor payments and, upon approval by the Court,
                               will receive proceeds of the DIP Facility;



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                            ii. An investment/concentration account of FEP (x1200) (the “Investment
                                Account”) where excess funds not needed to satisfy the current activities
                                of the FEP Operating Account are held;

                           iii. A P-Card payment account (x0135) (the “P-Card Account”) where the
                                charges of the Debtors’ eight (8) P-Cards are settled;

                           iv. A restricted, cash-backed collateral account (x0923) (the “P-Card
                               Collateral Account) where a $200,000 certificate of deposit collateralizes
                               the payment of the P-Card Account;

                            v. A payroll and benefits account (x7497) (the “Payroll Account”) where the
                               Debtors’ employee obligations to Insperity are funded; and

                           vi. The operating account of Fairway LP (x7489) (the “FELP Operating
                               Account”), which is currently inactive and funded from the FEP Operating
                               Account only as needed, and only upon the prior consent of the DIP
                               Lender.

         Debtors FEP LLC and Fairway LP are party to (i) a Deposit Account Control (Default)

         Agreement, dated as of May 26, 2017 (as amended, restated, supplemented or otherwise

         modified from time to time, the “DACA”) with Riverstone, as administrative agent under the

         Prepetition Credit Agreement (the “Prepetition Agent”), and Amegy governing the respective

         parties’ rights and obligations with respect to the FEP Operating Account and the FELP

         Operating Account and (ii) a Securities Account Control Agreement, dated as of June 5, 2017 (as

         amended, restated, supplemented or otherwise modified from time to time, the “SACA”), with

         the Prepetition Agent and Amegy governing the respective parties’ rights and obligations with

         respect to the Investment Account.

                68.     As set forth herein, the Debtors request authority (i) to maintain their Bank

         Accounts subject to control agreements presently in place between the Debtors and the

         Prepetition Secured Creditors and (ii) to continue in place the first-priority perfected liens on all

         of the cash in the Bank Accounts in favor of the Prepetition Secured Creditors.



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                iii.     Use of Corporate Bank Accounts

                   69.   The Debtors respectfully request authority to maintain their existing Bank

         Accounts and Cash Management System in accordance with their usual and customary practices

         to ensure a smooth transition into Chapter 11 with minimal disruption to operations.

                   70.   The Debtors also request authority to close any of the Bank Accounts or open new

         bank accounts if, in the exercise of their business judgment, the Debtors determine that such

         action is in the best interest of their estates or if a new bank account is required to comply with

         an order of the Bankruptcy Court; provided that Debtors shall not close any Bank Accounts (a) at

         Amegy or (b) subject to control agreements in favor of Amegy as secured party thereunder or

         further order of this Court.

                   71.   I believe that the Debtors’ continued use of the Bank Accounts with the same

         account numbers is necessary for the transition into Chapter 11 to be smooth and orderly, with

         minimal interference with continuing operations. I believe that requiring the Debtors to open

         new accounts and obtain checks for those accounts will cause delay and disruption to the

         Debtors’ businesses.

                   72.   By preserving business continuity and avoiding the operational and administrative

         paralysis that closing the existing Bank Accounts and opening new ones would create, I believe

         all parties-in-interest will be best served and the benefit to the Debtors’ estates will be

         considerable. The Bank Accounts are in a financially stable institution that is insured by the

         Federal Deposit Insurance Corporation up to the applicable limit.

                iv.      Cash Management System

                   73.   I believe the Debtors’ Cash Management System constitutes an ordinary course,

         essential business practice providing significant benefits to the Debtors including, among other

         things, the ability to (i) control funds, (ii) ensure the availability of funds when necessary, and
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         (iii) reduce costs and administrative expenses by facilitating the movement of funds and the

         development of more timely and accurate account balance information. I believe that any

         disruption of the Cash Management System could have a severe and adverse impact upon the

         Debtors’ reorganization efforts.

                  74.   I believe the relief requested in the Cash Management Motion is vital to ensuring

         the Debtors’ seamless transition into bankruptcy. I believe that authorizing the Debtors to

         maintain their Cash Management System, will avoid many of the possible disruptions and

         distractions that could divert the Debtors’ attention from more pressing matters during the initial

         days of the Chapter 11 Cases.

                v.      Modification from U.S. Trustee Guidelines

                  75.   Further, the Debtors seek a permitted deviation from the U.S. Trustee Guidelines

         to the extent that the requirements of such guidelines otherwise conflict with (a) the Debtors’

         existing practices under the Cash Management System or (b) any action taken by the Debtors in

         accordance with any order granting the Cash Management Motion or other order entered in the

         Chapter 11 Cases. I believe the use of the Debtors’ Cash Management System is an ordinary

         course, customary, essential business practice. I believe that requiring that the Debtors alter their

         current practices to comply with the Guidelines would risk disruption to the Debtors’ businesses

         and be inefficient.

                  76.   While the Debtors believe that their cash management practices comply with

         section 345(b) of the Bankruptcy Code, to the extent that that the requirements of section 345(b)

         of the Bankruptcy Code are inconsistent, or otherwise conflict, with (a) the cash management

         practices under the Cash Management System or (b) any action taken by the Debtors in

         accordance with an order of this Court, the Debtors seek a waiver of the requirements of section


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         345(b) of the Bankruptcy Code to allow the Debtors to continue their existing cash management

         practices.

                77.     I believe that the relief requested in the Cash Management Motion is in the best

         interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable

         the Debtors to continue to operate their business in chapter 11. Accordingly, on behalf of the

         Debtors, I respectfully submit that the Cash Management Motion should be approved.

         D.     Debtors’ Application for Entry of an Order, Pursuant To 28 U.S.C. § 156(c),
                Authorizing the Retention and Appointment of Prime Clerk LLC as Claims,
                Noticing, and Balloting Agent Nunc Pro Tunc to the Petition Date (the “Claims
                Agent Application”)

                78.     Pursuant to the Claims Agent Application, the Debtors seek entry of an order

         appointing Prime Clerk LLC (the “Claims Agent”) as the Claims and Noticing Agent for the

         Debtors in the Chapter 11 Cases, in accordance with the terms and conditions of the engagement

         agreement dated November 19, 2018 between Fairway and the Claims Agent. The Claims

         Agent’s duties will be assuming full responsibility for the distribution of notices and the

         maintenance, processing, and docketing of proofs of claim filed in the Debtors’ Chapter 11 Cases.

         It is my understanding that the Claims Agent has substantial experience in matters of this size and

         complexity and has acted as the official claims and noticing agent in many large bankruptcy

         cases. I am informed a separate motion to retain Prime Clerk will be filed, and that the firm has

         prior experience in handling the matters. Prime Clerk was selected after the Debtors’ advisors

         received proposals from several such providers. I believe that the Claims Agent is fully equipped

         to manage claims issues and provide notice to creditors and other interested parties in these

         Chapter 11 Cases and, therefore, on behalf of the Debtors, I respectfully submit that the Claims

         Agent Application should be approved.



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         E.      Debtors’ Motion for Order (I) Authorizing Debtors to Pay Certain Prepetition
                 Employee Wages, Other Compensation and Reimbursable Employee Expenses and
                 (II) Continue Employee Benefits Programs (the “Wages Motion”)

                 79.      The Debtors seek to continue to pay certain prepetition obligations owed to either

         their employees or those who provide employee benefits, to honor and continue certain employee

         benefits (collectively, and as described herein, the “Workforce Obligations”)3 and to authorize

         and direct financial institutions to receive, process, honor, and pay checks presented for payment

         and electronic payment requests relating to prepetition Workforce Obligations and related

         programs during the postpetition reorganization process. I believe the continuation of these

         programs is essential to the success of the Debtors’ reorganization.

                i.        Payment of Pre-Petition Wages, Payroll and Other Compensation

                 80.      I believe that, in order to minimize the personal hardship that the Debtors’

         employees will suffer if prepetition obligations are not honored, as well as the harm which would

         result to the Debtors if there were departures and employee morale is not maintained, it is of

         critical importance that the Debtors pay prepetition wages, compensation, and amounts

         associated with employee benefit programs and continue such programs in the ordinary course.

                 81.      As of the Petition Date, the Debtors employ nine (9) full-time salaried employees

         and five (5) full-time hourly employees (the “Employees”). In addition, the Debtors employ two

         (2) independent contractors (the “Independent Contractors”) (together with the Employees,

         hereafter the “Workforce”). The Workforce are responsible for the ongoing business operations

         of the Debtors. The skills, knowledge and understanding that the Workforce possesses with



         3
          The summary of the Debtors’ various Employee Obligations provided herein is qualified entirely by the Debtors’
         official policies or other practices, programs or agreements, whether written or unwritten, evidencing an
         arrangement among the Debtors and their Employees (as defined herein) (each, an “Official Policy”). In the event
         of any inconsistency or ambiguity between the summary contained in the Motion and an Official Policy, the terms of
         such Official Policy shall govern.
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         respect to the Debtors’ operations are essential to the effective reorganization of the Debtors’

         financial affairs.

                  82.    In the ordinary course of business, the Debtors pay the Employees through

         Insperity PEO Services, LP, (the “Payroll Service”), a third-party service provider, which makes

         payments either directly to Employees via check or through direct deposits with funds advanced

         by the Debtors. The Debtors’ aggregate gross monthly payroll is approximately $237,000 for

         wages and benefits for all of the hourly and salaried Employees. The Debtors pay all amounts

         due for payroll and benefits to the Payroll Service by wire transfer, and the Payroll Service then

         pays each of the Employees either by check or by direct deposit.

                ii.      Wages and Salaries

                  83.    The Debtors’ estimate that, as of the Petition Date, no Workforce Obligations are

         due and outstanding to the salaried Employees.

                  84.    The Debtors’ estimate that, as of the Petition Date, approximately $22,000 of

         wage obligations are due and payable to the hourly Employees.

                  85.    Assuming that all checks cleared, the Debtors estimate that as of the Petition

         Date, total prepetition wages and salaries (excluding expense reimbursements and vacation time)

         earned by the Employees and Officers prior to the Petition Date that have accrued and remain

         unpaid (collectively, the “Wage Obligations”) total approximately $22,000 (and include amounts

         withheld for taxes, garnishments, and other amounts needed to be withheld).

                  86.    I believe that no Employee has accrued but unpaid compensation in excess of the

         priority cap established by the Bankruptcy Code.

                  87.    As of the Petition Date, the Debtors estimate that approximately $12,250 in fees

         owed to Independent Contractors for prepetition services has accrued and remains outstanding

         (the “Unremitted Independent Contractor Compensation”).
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                iii.     Other Compensation: Vacation, Holiday, and Business Expenses

                   88.   The Debtors provide the Employees with vacation time and holidays (“Vacation

         and Other Time Off”). Vacation accrues at the beginning of each calendar year and the amount

         is dependent upon an Employee’s length of employment. If an Employee does not use his or her

         vacation time in a given year, the Employee loses that year’s vacation time. Vacation does not

         carry over to the next year unless the Debtors make a special exception, which the Debtors do in

         very limited circumstances. If an Employee is terminated or resigns, such Employee is paid for

         any unused vacation time since vacation is granted at the beginning of each year (the “Unused

         Vacation”). By this Motion, the Debtors seek authority to honor their respective vacation and

         other leave policies to all Employees in the ordinary course of Debtors’ business. The Debtors

         request authority to permit their Employees to use accrued vacation and other leave, and subject

         to the budget approved by the lenders in connection with the Debtors’ request for authority to

         enter into a debtor-in-possession financing agreement and the terms and conditions thereof, the

         Debtors request authority to pay Employees for Unused Vacation in accordance with their

         prepetition policies.

                   89.   In addition, the Debtors routinely reimburse their Employees for certain expenses

         incurred within the scope of their employment, such as cell phone, travel reimbursement

         expenses, mileage, professional association fees and other expenses (collectively, the

         “Reimbursable Expenses”). As more fully described in the Cash Management Motion, certain of

         the Debtors Workforce have access to corporate P-Cards for purposes of certain expenses. The

         Employees who do not have access to P-Cards and incur out-of-pocket-costs are reimbursed for

         these expenses. To the extent an Employee has not yet submitted an expense report or has not

         yet been reimbursed for Reimbursable Expenses incurred prior to the Petition Date, the Debtors

         are seeking authority to reimburse Employees for such amounts. The Debtors seek authority to
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         pay the Reimbursable Expenses to Employees for prepetition amounts incurred on behalf of the

         Debtors and to continue to process and pay Reimbursable Expenses incurred by Employees in

         the ordinary course of business and consistent with past practice.

                  90.   These forms of compensation are usual, customary, and necessary if the Debtors

         are to retain qualified employees during the reorganization process.

                iv.     Employee Benefit Plans

                  91.   The Debtors have established plans and policies to provide their Employees with

         (a) health benefits, including medical, dental, and vision benefits and (b) insurance benefits,

         including long-term disability, life insurance, supplemental life insurance, and accidental death

         and dismemberment insurance (collectively, the “Employee Benefits”). The Employee Benefits

         Plans and the Employer Welfare and Administrative Costs (as defined below) are funded in part

         through the Debtors’ payments to the Payroll Service, which then administers the Health Plan

         and the Welfare Benefits (as defined below). The Employee Benefits represent an important

         component of an Employee’s compensation. All regular, full-time, Employees are eligible to

         receive medical, prescription drug, dental, and vision insurance coverage (collectively, the

         “Health Benefits”). The Payroll Service provider administers the Debtors’ medical, dental,

         vision and prescription drug coverage for the Debtors’ fourteen (14) covered Employees fully-

         funded health plan (the “Health Plan”). As part of the Health Plan, Employees may choose their

         individual levels of coverage from a wide array of benefits, including; (i) one of eight medical

         coverage plans offered through United Healthcare, (ii) dental insurance offered through United

         Healthcare, (iii) vision insurance offered through Vision Service Plan, (iv) flexible spending

         accounts (“FSA”) plan offered through United Healthcare, (v) , a health saving account (“HSA”)

         plan offered through Tango Health, and (vi) an employee assistance program offered through

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                92.     In addition to the Health Plans above, the Employees access to certain welfare

         benefits (the “Welfare Benefits”) including (i) basic term life insurance, (ii) optional group life

         insurance, (iii) personal accident insurance, and (iv) disability insurance plans, all administered

         through Cigna insurance. The basic term life is 100% employer paid and all other Welfare

         Benefits are voluntary, and 100% employee paid.

                93.     The Employees’ portion of monthly premium for the Health Plan is deducted

         from each participating Employees’ payroll amount. The Debtors also pay: (i) the employer

         portion for the Health Plan and (ii) 100% of the basic term life insurance portion of the Welfare

         Benefits (the “Employer Health and Welfare Obligations”). As of the Petition Date, there are no

         amounts outstanding for the Employer Health and Welfare Obligations; however, the Debtors

         seek the authority to continue to fund these obligations in the ordinary course of business and

         consistent with past practice on a post-petition basis.

                94.     The Debtors also pay an administrative expense to the Payroll Service (the

         “Employer Welfare and Administrative Costs”).             On an aggregate basis, the Debtors pay

         approximately $40,000 per month to the Payroll Service Provider for Employer Welfare and

         Administrative Costs. The Debtors estimate that approximately $7,000 of Employer Welfare and

         Administrative Costs are outstanding as of the Petition Date (the “Unremitted Employer Welfare

         and Administrative Costs”).

                95.     Considering that the Employee Benefits are vital to the Debtors’ Employees and

         that the vast majority of the Unpaid Employee Benefits is held in trust for the Employees and is

         not property of the Debtors’ estates, the Debtors seek authority to remit the Unpaid Employee

         Benefits and to continue providing the Health Benefits in the ordinary course of business on a

         post-petition basis. I firmly believe that the relief requested in the Wages Motion is in the best


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         interests of the Debtors’ estates and will enable the Debtors to continue to operate their

         businesses in Chapter 11 without disruption so as to avoid immediate and irreparable harm to the

         Debtors’ estates. Accordingly, on behalf of the Debtors, I respectfully submit that the Wages

         Motion should be approved.

         F.     Debtors’ Motion for Interim and Final Orders Under Sections 105(a) and 366 of the
                Bankruptcy Code (I) Prohibiting Utility Companies from Altering or Discontinuing
                Service on Account of Prepetition Invoices, (II) Approving Deposit Account as
                Adequate Assurance of Payment, and (III) Establishing Procedures for Resolving
                Requests by Utility Companies for Additional Assurance of Payment (the “Utilities
                Motion”)

                96.     In the normal operation of their business, the Debtors have relationships with

         many different utility companies and other providers (each a “Utility Company” and,

         collectively, the “Utility Companies”) for the provision of electric, water, sewer, natural gas,

         trash removal, telephone, cellular telephone, internet services, and similar utility products and

         services (collectively, the “Utility Services”).     The Utility Companies service the Debtors’

         corporate offices and other locations. The Debtors estimate that the average monthly amount

         owed to the Utility Companies is approximately $43,200.

                97.     The Debtors anticipate that the equity value represented by its invested capital and

         facilities will be sufficient to allow them to satisfy all administrative expenses, and the Debtors

         intend to pay all postpetition obligations owed to the Utility Companies from available cash

         collateral in a timely manner. Nevertheless, to provide additional adequate assurance of payment

         for future Utility Services, the Debtors will deposit $21,660, a sum equal to approximately fifty

         percent (50%) of the Debtors’ estimated monthly cost of their Utility Services, into a separate,

         segregated, interest-bearing account, that will be established and funded within twenty (20)

         business days after the Petition Date (the “Utility Deposit Account”), subject to the terms and

         conditions of the debtor in possession financing agreement and applicable orders authorizing the

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         Debtors to enter into the same. The Debtors will maintain the Utility Deposit Account with a

         minimum balance equal to fifty percent (50%) of the Debtors’ estimated monthly cost of Utility

         Services, which may be adjusted by the Debtors to account for the termination of Utility Services

         by the Debtors or other arrangements with respect to adequate assurance of payment reached

         with individual Utility Companies.

                98.    I believe that the relief requested in the Utilities Motion is in the best interests of

         the Debtors’ estates and will enable the Debtors to continue to operate their businesses in

         Chapter 11 without disruption so as to avoid immediate and irreparable harm to the Debtors’

         estates. Accordingly, on behalf of the Debtors, I respectfully submit that the Utilities Motion

         should be approved.

                                    [SIGNATURE ON FOLLOWING PAGE]




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                I declare under the penalty of perjury that the foregoing is true and correct.



         Dated: November 26, 2018


                                                  By:           /s/ Robert M. Flavin
                                                         Name: Robert M. Flavin
                                                         Title: Chief Financial Officer
                                                                of Fairway Energy GP, LLC
                                                                As General Partner to Fairway
                                                                Energy, L.P., the sole member of
                                                                Fairway Energy Partners, LLC




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